Case 7:23-cv-00274-RSB-CKM Document 17 Filed 12/28/23 Page 1 of 2 Pageid#: 99




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

JOHN DOE,                                     )
     Petitioner                               )
                                              )
v.                                            )       Civil Action No. 7:23-cv-00274
                                              )
RADFORD UNIVERSITY, et al.,                   )
    Respondents.                              )

     RULE 41(a) NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COMES NOW Petitioner John Doe, by counsel, and gives notice of voluntary dismissal

of this action, without prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure.

In support of this Notice Petitioner states the following:

       1. Defendants herein have not filed an answer or motion for summary judgment.

       2. The claim(s) raised in this action have not previously been dismissed in any state or

           federal action. F.R.C.P. 41(a)(1)(B).

       WHEREFORE, Petitioner John Doe gives notice of voluntary dismissal of this action,

without prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure

                                                      Respectfully submitted,
                                                      JOHN DOE

                                                      /s/ Melvin E. Williams
                                                      Of Counsel

Melvin E. Williams (VSB No. 43305)
   mel@williamsstrickler.com
Meghan A. Strickler (VSB No. 88556)
   meghan@williamsstrickler.com
WILLIAMS & STRICKLER, PLC
1320 Third Street, SW
Roanoke, Virginia 24016
(540) 266-7800
(540) 206-3857 facsimile
       Counsel for Petitioner John Doe
Case 7:23-cv-00274-RSB-CKM Document 17 Filed 12/28/23 Page 2 of 2 Pageid#: 100




                                  CERTIFICATE OF SERVICE

        On this 28th day of December 2023, the foregoing Rule 41(a) Notice of Voluntary

 Dismissal Without Prejudice was filed with the Clerk of Court using the CM/ECF system, which

 will send notification to counsel of record.

                                                   /s/ Melvin E. Williams
                                                   Of Counsel
